                                                    The Honorable Thomas S. Zilly
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 8                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF WASHINGTON
 9                                AT SEATTLE

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11
     TSUNG H HSU,                             Case No. 2:20–cv–00088–TSZ
12

13                    Plaintiff,
                v.                            PLAINTIFF’S MOTION FOR
14                                            RECONSIDERATION
     NORTHWESTERN MUTUAL LIFE
15   INSURANCE COMPANY,
                                              NOTE ON MOTION CALENDAR:
16                    Defendant.              March 2, 2021

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     PLAINTIFF’S MOTION FOR RECONSIDERATION                       ROY LAW GROUP
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 1                   PLAINTIFF’S MOTION FOR RECONSIDERATION

 2          For the good cause of manifest error, Plaintiff Tsung Hsu respectfully moves the

 3   Court to reconsider the grant of summary judgment on the discrete issue of the recoverable

 4   “Claim Period” in the Order partially granting and partially denying summary judgment,

 5   pursuant to LCR 7(h). Dkt. 38 at 5–6.

 6          Plaintiff respectfully submits that the Court erred in ruling that Plaintiff cannot

 7   obtain any benefits prior to March 2018 under the Policy’s proof of loss provision and in

 8   granting Defendant Northwestern Mutual Life Insurance Company (“NWM”) partial

 9   summary judgment on that basis. Dkt. 38 at 5–6. Specifically, the Court appears to have

10   conflated NWM’s arguments regarding the “Claim Period” issue (a standard policy

11   condition, the breach of which will not allow an insurer like NWM to avoid its coverage

12   obligations unless it can show prejudice) with the question of whether a covered claim

13   arises under an insurance policy’s coverage period (which an insurer can use to avoid
     coverage without showing prejudice under certain circumstances). The Policy’s “Claim
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     Period” provision is clearly an example of the former. Moreover, because the Court
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     properly denied NWM summary judgment on the question of “Prejudice” (which
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     comprises the second half of the Order’s section on “Timeliness,” id. at 5–7), the Court has
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     already found that NWM cannot show prejudice, and the only way to logically reconcile
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     this finding with the “Claim Period” issue is to grant reconsideration and reverse the grant
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     of partial summary judgment to NWM.
20
            This conclusion is compelled by Judge Martinez’s ruling in almost identical
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     circumstances—i.e., concerning the exact same “proof of loss” policy provision invoked
22
     by the very same defendant here, NWM—to hold that NWM was not entitled to summary
23
     judgment against a similarly situated insured who submitted a similarly late disability
24

25

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                                                 Page 1
 1   claim under Washington’s notice-prejudice rule. George v. Northwestern Mut. Life Ins.

 2   Co., No. 10-cv-0668-RSM, 2011 WL 3881476, *7–9 (W.D. Wash. September 1, 2011).1

 3   A.      Notice-Prejudice Rule Jurisprudence

 4             A foundation of the notice-prejudice rule, as recognized by the Ninth Circuit,

 5   includes regular application to “proof of loss” provisions within insurance policies:

 6           The “proof of Total Disability” requirement is similar in form and function to
             the kinds of “proof of claim” and “proof of loss” provisions to which the
 7           notice-prejudice rule is regularly applied. See Id. at 117; Zuckerman, 650 P.2d
             at 445; cf. Kearney v. Standard Ins. Co., 175 F.3d 1084, 1089 (9th Cir.), cert.
 8
             denied, 528 U.S. 964, 145 L. Ed. 2d 310, 120 S. Ct. 398 (1999) (explaining
 9           that the phrase “satisfactory written proof” may be considered “a variant of the
             very old phrase ‘satisfactory proof of loss’”).
10
     Carrington Estate Planning Servs. v. Reliance Std. Life Ins. Co., 289 F.3d 644, 647 (9th
11
     Cir. 2002) (emphasis added).2
12
             The purpose of the notice-prejudice rule is to prevent insurers from elevating form
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     over substance, or technicality over manifest justice, because a claim denial based only on
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     strict adherence to timing provisions within a policy, where no prejudice to an insurer has
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     been proven to exist, would amount to “technical forfeiture … unrelated to the merits of
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     [a] claim.” Id. at 648 (finding that “enforcement of the requirement that notice of disability
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     be received within one year from the date it began would result in a technical forfeiture of
18
     the policy’s benefits unrelated to the merits of Carrington’s claim”).
19
             Nor is the standard recognized by the Ninth Circuit different from the notice-
20
     prejudice rule that has been acknowledged for decades in Washington:
21
             The notice/prejudice rule developed in an attempt to avoid the perceived
22           unfairness of denying coverage for failure to comply with a notice provision if
             the insurer was not prejudiced by that failure. R. Keeton & A.
23           Widiss, Insurance Law § 7.2(e)(2), at 764 (1988). Because notice provisions
24           exist to prevent insurers from being prejudiced by their insureds’ dilatory filing

25   1
       A highlighted copy of Judge Martinez’s ruling in George is attached for the Court’s convenience. Plaintiff
26   respectfully requests that the Court take into account the cogent reasoning set forth in George and reconsider
     its ruling granting partial summary judgment to NWM.
     2
       Unless otherwise indicated, all further emphasis is also added.                            ROY LAW GROUP
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                                                              Page 2
             of claims, to allow the denial of coverage where untimely notice of a claim
 1           does not prejudice the insurer would be to elevate form over substance. R.
 2           Keeton & A. Widiss, at 763-64. Thus, the notice/prejudice rule was created
             fundamentally to preserve the insured’s coverage in those cases where the lack
 3           of notice does not prejudice the insurer. See Oregon Auto, at 376-
             77; Thompson, at 163.
 4
     Safeco Title Ins. Co. v. Gannon, 54 Wn. App. 330, 336–337 (Wash. Ct. App. June 5,
 5
     1989).
 6
             Nor is this a case that the notice-prejudice rule does not reach, as when an insured
 7
     files a claim after coverage has been terminated, whereby the claimant is effectively and
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     improperly trying to receive coverage “gratis,” as this Court has explained:
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             Plaintiff contends that the notice/prejudice rule applies to the policy at
10           issue. The notice/prejudice rule requires insurers to show actual prejudice
11           when denying coverage for lack of timely notice. See Gannon, 54 Wn. App at
             336; see also Oregon Auto Ins. Co. v. Salzberg, 85 Wn.2d 372, 377, 535 P.2d
12           816 (1975). The court in Gannon, however, explicitly held that the
             notice/prejudice rule does not apply to “claims made” policies. 54 Wn. App.
13           at 336. This is because, “[i]f a court were to allow an extension of reporting
             time after the end of the policy period, such is tantamount to an extension of
14           coverage to the insured gratis, something for which the insurer has not
15           bargained.” Id. (quoting Gulf Ins. Co. v. Dolan, Fertig & Curtis, 433 So. 2d
             512, 515-16 (Fla. 1983)). Therefore, since the policy at issue is a “claims
16           made” policy, the notice/prejudice rule does not apply.

17   Moody v. Am. Guarantee & Liab. Ins. Co., 804 F. Supp. 2d 1123, 1125 (W.D. Wash.
18   2011) (italics in original).3
19           Instead, this case simply presents a run-of-the-mill scenario where the claimant had

20   faithfully paid his premiums and was still covered under his policy—but he just filed a

21   routine late claim. In other words, this is precisely the sort of case covered by the notice-

22   prejudice rule. And to further confirm this, beyond any possible shadow of rational doubt,

23   this Court applied Washington’s notice-prejudice rule in virtually identical circumstances

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     3
       The “claims made” phrase is perhaps confusing—but looking to the context of Gannon, from which this
25   Court coined/applied that phrase, the issue is clearly about termination of coverage. That is, the notice-
     prejudice rule does not extend “claims made” after the termination of coverage, in order to make lapsed
26   coverage claims whole: “While there are sound reasons for applying the notice/prejudice rule to the typical
     notice provision in an occurrence policy, those reasons do not apply with equal force to the notice provision in
     the claims after termination clause at issue here.” Gannon, 54 Wn. App. at 336.              ROY LAW GROUP
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                                                              Page 3
 1   involving the same “proof of loss” provision within a NWM policy:

 2           The proof of loss provisions contained in Dr. George’s disability policies are
             similar to the notice of claim provisions, except that several of them have outer
 3           time limits …. The fourth policy provides that, “[i]n any event, the proof
 4           required must be given no later than one year and 90 days after the end of each
             monthly period for which benefits are claimed unless the Owner was legally
 5           incapacitated.”

 6           ….
             Dr. George is claiming benefits prior to July/April 2006, so he has breached
 7           the contract provision providing that he will submit proof of loss within 1
             year/1 year and 90 days.
 8
             Although Dr. George has undisputedly failed to comply with three of the
 9           contracts’ proof of loss provisions, under Washington’s notice-prejudice rule,
             an insurer may not deny benefits on the basis of the insured’s failure to comply
10           with the policy unless it can show actual prejudice caused by the delay. Oregon
11           Auto. Ins. Co. v. Salzberg, 85 Wash.2d 372, 535 P.2d 816 (1975); Safeco Title
             Ins. Co. v. Gannon, 54 Wash. App. 330, 336, 774 P.2d 30 (1989). The notice-
12           prejudice requirement applies to disability insurance claims, Kaplan, 100
             Wash. App. at 579, and “[t]he existence of prejudice is ordinarily a question
13           of fact and the burden of proof is on the insurer,” id.at 578.
14           NW states that it was prejudiced by Dr. George’s failure to comply with the
             proof of loss provisions because filing the claim so many years after the onset
15           of the injury prevented it from: “conducting its own independent medical
             examination of Dr. George while he was working ….”
16
             ….
17
             Nonetheless, NW bears the burden of proving that it suffered prejudice as a
18           result of Dr. George’s breach of his insurance contracts. Canron, Inc. v.
             Federal Ins. Co., 82 Wn.App. 480, 485, 918 P.2d 937 (1996). Prejudice in this
19           context is “ordinarily a question of fact”. Id. Here, there is a disputed issue of
             material fact regarding whether NW suffered prejudice by Dr. George’s failure
20           to submit proof of loss during the time period required under the polices. The
21           record is not so substantial in NW’s favor that no reasonable jury could find
             that NW was not so prejudiced. Accordingly, summary judgment is
22           inappropriate on this issue.

23   George, 2011 Westlaw 3881476, *7–9 (underlining added, italics in original).
24           Quite plainly, considering the undisputed failure of a claimant to meet the exact
25   same “proof of loss” provision in a NWM disability policy,4 this very Court has
26   4
      The Court quotes a “proof of loss” provision in Dr. Hsu’s policy that is identical to the “fourth policy”
     provision quoted by the Court above, applying to Dr. George. Dkt. 38 at 5:21–22.             ROY LAW GROUP
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                                                              Page 4
 1   applied Washington’s notice-prejudice rule in the manner that the Ninth Circuit has

 2   observed to be “regularly applied” across the nation. Carrington, 289 F.3d at 647.5

 3   B.     The Court Correctly Ruled that NWM Cannot Show Prejudice as a Matter
            of Law
 4
            The Court properly denied summary judgment on the issue of “Prejudice.” Dkt. 38 at
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     6–7. Specifically, “[t]he Court denie[d] summary judgment on the issue of whether
 6
     Dr. Hsu’s late notice prejudiced NWM.” Id. at 7:7–8. And the Court appropriately cites to
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     Washington’s notice-prejudice rule in this regard: “An insured’s ‘[n]oncompliance with a
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     policy provision does not deprive the insured of the benefits of the policy unless the
 9
     insured demonstrates actual prejudice resulting from the insured’s noncompliance.’” Id. at
10
     6:6–9 (quoting Canron, Inc. v. Fed. Ins. Co., 82 Wn. App. 480, 485 (1996)).
11
     C.     The Court Should Reconsider Its Ruling on the “Claim Period” Issue to
12          Reconcile It with the Court’s Holding on the “Prejudice” Issue

13          Plaintiff maintains, in respectful humility, that the Court’s holdings on “Prejudice”
     and “Claim Period,” within the same Order section on “Timeliness,” cannot be rationally
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     or legally reconciled. Dkt. 38 at 5–7. Simply put, the “Claim Period” issue is also a matter
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     of basic timeliness to which Washington’s notice-prejudice rule applies.
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            Plaintiff respectfully submits that this constitutes error, as this holding is at odds
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     with relevant notice-prejudice rule jurisprudence, including Judge Martinez’s decision in
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     virtually identical circumstances in George. Indeed, the Court properly cited to Canron in
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     denying summary judgment in the context of the same NWM “proof of loss” provision in
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     George, 2011 WL 3881476, *9, yet the Court does not appear to have fully applied
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     Canron to this case despite the presence of an identical “proof of loss” provision quoted
22
     within the “Claim Period” section.
23
            As noted, the Ninth Circuit considers “proof of loss” provisions as among the
24
     “provisions to which the notice-prejudice rule is regularly applied.” Carrington, 289 F.3d
25
     5
       The Ninth Circuit surveyed not only its own precedent in Carrington but state holdings, too, to support the
26   conclusion that the notice-prejudice rule is commonly or “regularly applied” to “proof of loss” provisions like
     the one at issue in this case, to which the Court properly applied the state’s notice-prejudiceROY
                                                                                                     ruleLAW
                                                                                                          in George.
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                                                         Page 5
 1   at 647 (emphasis added). Moreover, the Ninth Circuit functionally equates “notice of

 2   disability” to “proof of loss”—i.e., after first noting the similitude of a “proof of loss”

 3   provision to the specific provision under consideration in Carrington, the Ninth Circuit

 4   proceeded to explain that “enforcement of the requirement that notice of disability be

 5   received within one year from the date it began would result in a technical forfeiture of the

 6   policy’s benefits unrelated to the merits of Carrington’s claim.” Id. at 647–48. This

 7   manifests the unreasonableness and legal impropriety of drawing any substantive

 8   distinction between NWM’s “notice” and “proof of loss” provisions, which the Court

 9   properly declined to do in George.

10         As presently constituted, however, the grant of summary judgment on the “Claim

11   Period” issue amounts to a technical forfeiture of any benefits prior to March 2018, despite

12   the lack of any consideration on whether NWM was actually prejudiced by Dr. Hsu’s late

13   submission of proof of loss. Nor could prejudice possibly apply to what the Court itself
     styles as a sub-issue of “Timeliness,” since the Court already “denie[d] summary judgment
14
     on the issue of whether Dr. Hsu’s late notice prejudiced NWM.” Dkt. 38 at 7:7–8.
15
           In sum, the issue before the Court now, as to Dr. Hsu’s timeliness in satisfying both
16
     the “notice of claim” and “proof of loss” provisions in his policy, boils down to what the
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     Court has already recognized: “An insured’s ‘[n]oncompliance with a policy provision
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     does not deprive the insured of the benefits of the policy unless the insured demonstrates
19
     actual prejudice resulting from the insured’s noncompliance.’” Id. at 6:6–9 (quoting
20
     Canron, 82 Wn. App. at 485). Thus, even if Dr. Hsu “did not submit any proof of claim
21
     until June 11, 2019,” Plaintiff respectfully submits that the Court erred in citing
22
     noncompliance with a “proof of loss” provision without any showing of actual prejudice as
23
     the ostensible grounds to justify the forfeiture of Dr. Hsu’s policy benefits prior to March
24
     2018. Id. at 6:2–4 & n.1. Consequently, reconsideration and reversal of the Order’s “Claim
25
     Period” grant of summary judgment is justified.
26
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                                                  Page 6
 1        Respectfully submitted this 2nd day of March, 2021.

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                                              Page 7
 1                                 CERTIFICATE OF SERVICE

 2       I certify that on March 2, 2021, I electronically filed the foregoing with the Clerk of

 3   Court using the CM/ECF system.

 4

 5       DATED this 2nd day of March, 2021.

 6                                                s/ Jesse Cowell
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